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BILL LIETZKE~

GENERAL BPELIVERY

135 CATOMA STREET

MONTGOMERY, ALABAMA 36104 - a

IN THE UNITED STATES DISTRICT CouRT.
FOR THE DISTRICT OF “arasKx

CASE NO, _ AECEIVED

ANCHORAGE, A

BILL LIETZKE, )
: )
PLAINTIFF, y? =
vs. yo, apR 12 2019
) . - " ne Xt CT COURT
CITY OF BIRMINGHAM, ET AL, } CLERK, U.S. BE rRrICT
)
)

DEFENDANTS.

1. Jurisdiction founded on the existence of a federal question and
amount in controversy.

2. The action arises under the Constitution of the United States,
Article III, Section II, as hereinafter more fully appears.

3. The amount in controversy exceeds, exclusive of interests and
costs, the sum of $1,000,000,000.00

4. Civil rights violations cases 8i11 fietzke vs.-City of -Birminghan,
‘Et 'Al,; Bill Lietzké'vs. Greyhound Ldnes,-Inc. filed under Title .28, USC,
Section 1331, Federal Question Jurisdiction and Title 42, U. Ss, C.,;
Section 1983, Civil Rights Cases,

5. On or about the 20th day of April, 2018 at about 5:30p.m., and
upon arrival of the Plaintiff at the Birmingham, Alabama Greyhound Lines,
Inc. by Greyhound Bus from the Nashville, Tennessee Greyhound Lines, Inc.,
the City of Birmingham, last known addresses 425 6th Avenue Seuth,
Birmingham, Alabama and two (2) unidentified, unspecified African-american
black male Birmingham Greyhound Lines, Inc. Defendants procured the
unlawful arrest, the unlawful violation of the personal liberty, and the

subsequent false imprisonment of Plaintiff Bill Lietzke,

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for any appreciable time however brief, and committed said non-consentual,
intentional confinement of the Plaintiff without Lawful privilege therfor,
and for any appreciable time however brief in the Birmipgham City Jail from
April 20, 2018 to April 21, 2018. The City of Birmingham, last known _~' -
addresses 425 6th Avenue South and two (2) unidentified, unspecified
African-american black male Birmingham Greyhound Lines, Inc. Defendants
purposely deprived the Plaintiff of freedom of movement by use of physical
barrier and force and other total and complete unreasonable duress, without
the Plaintiff's consent which harmed the Plaintiff, and such -harm was
substantially caused by the City of Birmingham's and unidentified,
umrspecified African-american black-male Defendants' conduct. :

‘6. ' Thereafter, the Plaintiff was released from the Birmingham City

‘Jail, last known addresses 425 6th Avenue South, Birmingham, ‘Alabama on the

bond of $300.00 on April 21, 2018. °°
7. On or about the 20th day of April,. 2018 at about 5:30p.m., the

City of Birmingham, 425 6th Avenue South, Birmingham, Alabama and

‘unidentified, unspecified African-american black male Birmingham Greyhound

Lines, Inc. Defendants struck, shoved, kicked,” and touched the Plaintiff,
subjected the Plaintiff to unlawful physical contaets and subjected the

Plaintiff to unlawful arrest and false imprisonment on frivolous and

baseless charges.

8. Thereafter, the Plaintiff was teleased from the Birmingham City
Jail, last known addresses 425 6th Avenue South, Birmingham, Alabana on the
bond of $300.00-on April ‘21, 2018.

9. The City of Birmingham, 425 6th Avenue South and Unidentified,
unspecified African-american black male Defendants violated the Plaintiff's
First Amendment, Second Amendment, Third Amendment, Fourth Amendment, and

Fifth Amendment rights of the United States Constitution.

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10. The Plaintiff seeks therefor Actual, Punitive, and Compensatory
Damdges “against all Defendants for $2,000,000,000.00
il, The Plaintiff seeks assessment of fines against all Defendants

for $20,000,000.00

12. The Plaintiff further seeks imprisonment of all Defendants in a

maximum security federal/state prison for 10 years,

‘Submitting for filing this April 8, 2019

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Catoma Street
Montgomery, Alabama 36104

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BILL LIETZKE
GENERAL DELIVERY
135 CATOMA STREET
MONTGOMERY, ALABAMA 36104
UNITED STATES DISTRICT COURT

222 W 7TH AVENUE, RM 229
ANCHORAGE, ALASKA 99513

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